Case 4:18-cV-01263 Document 14 Filed in TXSD on 05/24/18 Page 1 of 3

Pro Se 3 (Rev. 12/16) The Det`endant’s Answer to the Complaint

UNITED STATES DIsTRlCT CoURT

United Siatev

for the southern E'iEfErictLdei'i.:/'V
D ' ` `
Southern District of Texas E MAy
2 4 2018
Houston Division pa
vi
d J. Bradley, C.!erk cf Com

ANGEL FLORES, CESAR HERNANDEZ, DEBORAH
R|VERA LAURA LOZOYA AND SALLY A MAT|NEZ
|ndividua||y and On Behalf of A|| Others

,,,,,,,,,,i ,,Similiarl\/Situatp ,, ,, ,,,,i,,,,, ,,

Plaintijj'(s)
(Wl'ite thefull name ofeach plaintiffwho is`hlillg this complaint
If the names of all the plaintijfs' cannot fit in the space above,
please write "see attached " in the space and attach an additional
page with the full list of names )

_v_

Case No. 4:18-CV-01263

(to befilled m by the Cleik’ s Office)

.lul'y Tl‘lall (check one) Y€S ENO

JBM JANlTORlAL MA|NTENANCE, lNC. KRC
FLOOR N|A|NTENANCE, |NC. VIR|D|ANA GARC|A
A/K/A/ V|RID|ANA MART|NEZ, RAFAEL V.
,,,,,,,,,,,, ,,,MARTMU,* j ,,,,
Defendant(s)

(Write the full name of each defendant who is being sued. lf the
names of all the defendants cannot fit in the space above, please
write "see attached ” in the space and attach an additional page
with the full list of names. )

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THE DEFENDANT’S ANSWER T() THE COMPLAINT

l. The Parties Filing This Answer to the Complaint

Provide the information below for each defendant filing this answer or other response to the allegations in the
plaintiffs complaint. Attach additional pages if needed

 

 

 

Name JBM JANlToRlAL MA|NTENANCE, lNC

Street Address :/§OE§{§LLSBO|;O*§|_ j ' ' ' n f f

Ci'fy and County HOU§Hm '* viii ' 7 iranian ,ii
Srare and Zip Code TExAs 77020 ' ' f “ c erie
T€lephone Number C§§§ 713_ 330 5656*”' a ne m fm f in

 

E-mail Address

II. The Answer and Defenses to the Complaint
A. Answering the Claims for Relief

On a separate page or pages, write a short and plain statement of the answer to the allegations in the
complaint Number the paragraphs The answer should correspond to each paragraph in the complaint,
with paragraph l of the answer corresponding to paragraph l of the complaint, etc. For each paragraph
in the complaint, state whether: the defendant admits the allegations in that paragraph; denies the
allegations; lacks sufficient knowledge to admit or deny the allegations; or admits certain allegations
but denies, or lacks Sufflcient knowledge to admit or deny, the rest.

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United States Bankruptcy Court
Southern District of Texas

Notice of Bankruptcy Case Filing

 

A bankruptcy case concerning the debtor(s) listed below
was filed under Chapter 7 of the United States Bankruptcy
Code, entered on 05/23/2018 at 8114 PM and filed on
05/23/2018.

JBM Janitorial Maintenance, Inc.
7002 Hillsboro St

Houston, TX 77020

Tax ID / EIN: XX-XXXXXXX

 

The case was filed by the debtor's attorney:

Jessica Lee Hoff `
Hoff Law Offices PC

14 Inverness Dr E

Ste H-236

Englewood, Co 80112

303-803-4438

The case Was assigned case number 18-32691.

In most instances, the filing of the bankruptcy case automatically stays certain collection and other
actions against the debtor and the debtor's property. Under certain circumstances, the stay may be
limited to 30 days or not exist at all, although the debtor can request the court to extend or impose a stay.
If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be
penalized Consult a lawyer to determine your rights in this case.

lf you would like to view the bankruptcy petition and other documents filed by the debtor, they are
available at our Internet home page http://www.txs.uscourts.gov/ or at the Clerk's Office, United States
Bankruptcy Court, P0 Box 61010, Houston, TX 77208.

You may be a creditor of the debtor. If so, you will receive an additional notice from the court setting
forth important deadlines.

David J. Bradley
Clerk, U.S. Bankruptcy
Court

 

 

 

 

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